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         ATTACHMENT 2
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DESIGNATION            SOURCE                                                              DURATION          ID

  6:01 - 6:02          Dyckes, James 2022-10-27_1                                           00:00:04   Dyckes30b6_11.1
                       6:01           please state your full name for the record.
                       6:02      A. James Dana Dyckes.
  6:13 - 6:15          Dyckes, James 2022-10-27_1                                           00:00:08   Dyckes30b6_11.2
                       6:13     Q. Thank you. And do you understand that
                       6:14           your testimony here today is on behalf of DIRECTV?
                       6:15      A. Yes, sir, I do.
 26:22 - 27:03         Dyckes, James 2022-10-27_1                                           00:00:20   Dyckes30b6_11.3
                       26:22    Q. And again, focusing on the satellite
                       26:23          oﬀering, DIRECTV determines the price. Right?
                       26:24     A. We are -- we 100 percent control the
                       26:25          pricing. That's correct.
                       27:01    Q. This is implicit in your last answer, but
                       27:02          does the NFL tell DIRECTV the price it should
                       27:03          charge for the NFL Sunday Ticket product?
 27:08 - 27:14         Dyckes, James 2022-10-27_1                                           00:00:18   Dyckes30b6_11.4
                       27:08     A. We will share with the NFL what we're
                       27:09          going to charge. It's just a matter of courtesy
                       27:10          each year. But they do not tell us what to
                       27:11          charge.
                       27:12    Q. Has DIRECTV ever attempted to lower the
                       27:13          price of the satellite Sunday Ticket product and
                       27:14          been told by the NFL that they could not do so?
 27:16 - 27:22         Dyckes, James 2022-10-27_1                                           00:00:26   Dyckes30b6_11.5
                       27:16     A. Not to my knowledge. I know the price was
                       27:17          dropped in 2011, I believe it was.
                       27:18          I wasn't part of the NFL team back then.
                       27:19          But just going through the various studies that
                       27:20          I've had to look at, no one has ever told me since
                       27:21          I've been involved with the NFL that I could not
                       27:22          raise and/or drop and/or keep pricing flat.
 33:11 - 33:22         Dyckes, James 2022-10-27_1                                           00:00:28   Dyckes30b6_11.6
                       33:11    Q. In addition to working on Sunday Ticket,
                       33:12          you also work on products from other American
                       33:13          sports leagues. Right?
                       33:14     A. That in addition to -- I'm responsible for
                       33:15          over 20 diﬀerent products: sports, HBO, adult,
                       33:16          you name it.
                       33:17    Q. Is one of those products Major League
                Defense Aﬀirmatives     Plaintiﬀ Counters
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                    33:18          Baseball's out-of-market package?
                    33:19     A. Yes, it is.
                    33:20    Q. That's referred to as MLB Extra Innings
                    33:21          when oﬀered by DIRECTV?
                    33:22     A. Yes.
 34:03 - 34:20      Dyckes, James 2022-10-27_1                                           00:00:52   Dyckes30b6_11.7
                    34:03    Q. For Major League Baseball's out-of-market
                    34:04          package, Major League Baseball provides DIRECTV
                    34:05          with a suggested retail price. Right?
                    34:06     A. Yes, they do. It's called an SRP,
                    34:07          suggested retail price. Yes.
                    34:08    Q. And what is an SRP or suggested retail
                    34:09          price?
                    34:10     A. It's typically a price that the leagues
                    34:11          give us -- by the way, it's not just Major League
                    34:12          Baseball. NBA, NHL, they all do it.
                    34:13          It will be the price point that they oﬀer
                    34:14          or they suggest that we should sell it at, based
                    34:15          on their own data and what they think the value of
                    34:16          the product is.
                    34:17          And that SRP would be the same one not
                    34:18          only provided to us at DIRECTV but it will be
                    34:19          provided to Dish Network, to Comcast, Spectrum,
                    34:20          you name it. Anyone that's providing it.
 34:21 - 36:12      Dyckes, James 2022-10-27_1                                           00:01:53   Dyckes30b6_11.8
                    34:21    Q. When you say "it's typically a price that
                    34:22          the leagues give us," what do you mean by that?
                    34:23     A. It's the suggested price that we should
                    34:24          sell that service for. And the way the
                    34:25          economics -- those typically are revenue share
                    35:01          deals.
                    35:02          So the way the economics of that work
                    35:03          is -- I'll make up some numbers here, if that's
                    35:04          okay.
                    35:05          If the NBA said the SRP should be $200 and
                    35:06          let's say the revenue split is 50-50, it would
                    35:07          mean every time we sell an NBA League Pass unit,
                    35:08          we would get $100 of that 200 because we get a
                    35:09          50 percent share. And at the end of the day, we
                    35:10          get a 50 percent share, they would get $100.

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                    35:11          We have the right to not charge the $200.
                    35:12          We can charge more than that, we could charge less
                    35:13          than that.
                    35:14          But the rev split is based on that $200.
                    35:15          So if we decided we were only going to charge 100
                    35:16          bucks, we would be losing a ton of margin on that.
                    35:17          The NBA would still get their 50 percent split on
                    35:18          that 200 bucks that was originally the SRP and we
                    35:19          would essentially get nothing.
                    35:20          No one does that, just in terms of
                    35:21          practicality. If you look at our price for MLB,
                    35:22          it's going to be pretty much the same across every
                    35:23          other provider. Sometimes it might be diﬀerent
                    35:24          by a dollar or two here.
                    35:25          The only reason for that is we do
                    36:01          installment payments. And so when you do that,
                    36:02          you want to break it up over four months or six
                    36:03          months to make it easier for the customer.
                    36:04          Sometimes the rounding of that can be a little
                    36:05          bit -- $0.30 here, $0.30 there.
                    36:06          That can make it slightly diﬀerent than
                    36:07          what another provider is doing. Ballpark, they're
                    36:08          all the same.
                    36:09    Q. And they're all the same typically at the
                    36:10          rate that is the suggested retail price for that
                    36:11          product?
                    36:12     A. That's right.
 37:03 - 37:11      Dyckes, James 2022-10-27_1                                           00:00:22   Dyckes30b6_11.9
                    37:03    Q. DIRECTV's agreement with the NFL does not
                    37:04          contain a suggested retail price. Correct?
                    37:05     A. It certainly doesn't in the current
                    37:06          agreement. No.
                    37:07    Q. Similarly, DIRECTV's agreement with the
                    37:08          NFL does not provide for any sort of a revenue
                    37:09          split regarding the satellite Sunday Ticket
                    37:10          product?
                    37:11     A. That is correct.
 50:05 - 50:07      Dyckes, James 2022-10-27_1                                           00:00:07   Dyckes30b6_11.1
                    50:05          Is it your testimony that DIRECTV has                                  0
                    50:06          never discussed lowering the price of NFL Sunday

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                    50:07          Ticket with the NFL?
 50:12 - 50:20      Dyckes, James 2022-10-27_1                                          00:00:24   Dyckes30b6_11.1
                    50:12     A. No, that's not what I'm saying.                                         1
                    50:13          I have suggested I think at times that
                    50:14          we're looking at potentially, you know, keeping
                    50:15          prices flat or maybe dropping prices, things like
                    50:16          that, but that we are going through an analysis
                    50:17          and research and all kinds of other things.
                    50:18          And ultimately that's not what we did.
                    50:19          But I may have given a heads-up around those kinds
                    50:20          of things.




             Defense Aﬀirmatives     Plaintiﬀ Counters
